              Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 1 of 7




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION
                                    §
    CARLOS CORTES AND               §
    HOPE CORTES,                    §
                                    §
       Plaintiffs,                  §                                   CIVIL ACTION NO. 5:19-cv-01352
                                    §
    v.                              §
                                    §
    PNC BANK, NATIONAL ASSOCIATION, §
                                    §
       Defendant.

                              DEFENDANT PNC BANK, N.A.’S
                       ORIGINAL ANSWER TO PLAINTIFFS’ COMPLAINT

         Defendant PNC Bank, National Association (“PNC” or “Defendant”) files this its Original

Answer to Plaintiffs Carlos Cortes and Hope Cortes (“Plaintiffs”)’ Original Petition and

Application for Injunctive Relief, Including Temporary Restraining Order (the “Complaint”), 1 and

states as follows:

                                  I.          ADMISSIONS AND DENIALS

                                            PARTIES AND SERVICE

         1.        With respect to Paragraph 1 of the Complaint, PNC admits that, upon information

and belief, Plaintiffs are individuals residing in Bexar County, Texas.

         2.        With respect to Paragraph 2 of the Complaint, PNC admits that (a) it is a foreign

corporation doing business in Texas, (b) it has been served with process, and (c) it has appeared in

this lawsuit.




1
 Plaintiffs originally filed their Complaint in the 480th Judicial District of Bexar County, Texas under Cause No.
2019-CI-22996 (“State Court Action”). Defendant removed the State Court Action to its current federal court action
on November 4, 2019. Plaintiffs’ Complaint is Document 1-2, Exhibit 1 to Defendant’s Notice of Removal.

DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                               Page 1
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
               Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 2 of 7




                                         JURISDICTION AND VENUE

          3.       PNC states that the allegations in paragraph 3 of the Complaint are legal and/or

factual conclusions for which no response is required, except that PNC does not challenge the

Court’s jurisdiction over PNC in this matter. To the extent, if any, that a response is required,

denied.

          4.       PNC states that the allegations in paragraph 4 of the Complaint are legal and/or

factual conclusions for which no response is required, except that PNC does not challenge the

Court’s jurisdiction over PNC in this matter. To the extent, if any, that a response is required,

denied.

          5.       PNC states that the allegations in paragraph 5 of the Complaint are legal and/or

factual conclusions for which no response is required, except that PNC does not challenge venue

in this matter. To the extent, if any, that a response is required, denied.

                                                         FACTS

          6.       PNC admits that Plaintiffs are the record owners of the subject property and admits

that PNC is the servicer of a mortgage lien encumbering the property, as set forth in Paragraph 6

of the Complaint.

          7.       After reasonable inquiry, PNC lacks sufficient information to admit or deny the

allegations set forth in paragraph 7 of the Complaint; therefore, the allegations are denied.

          8.       After reasonable inquiry, PNC lacks sufficient information to admit or deny the

allegations set forth in paragraph 8 of the Complaint; therefore, the allegations are denied.

          9.       After reasonable inquiry, PNC lacks sufficient information to admit or deny the

allegations set forth in paragraph 9 of the Complaint; therefore, the allegations are denied.




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                    Page 2
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
            Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 3 of 7




          10.      PNC states that the allegations in paragraph 10 of the Complaint are legal and/or

factual conclusions for which no response is required; except that PNC specifically denies that

Plaintiffs took any action or failed to take any action based on any alleged representations by PNC.

          11.      PNC denies the allegations set forth in Paragraph 11 of the Complaint.

          12.      PNC denies the allegations set forth in Paragraph 12 of the Complaint.

          13.      PNC states that the allegations in paragraph 13 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

                                 ELEMENTS FOR INJUNCTIVE RELIEF

          14.      PNC states that paragraph 14 of the Complaint does not contain an allegation for

which Defendant is required to admit or deny. To the extent, if any, that a response is required,

denied.

          15.      PNC denies the allegations set forth in Paragraph 15 of the Complaint.

          16.      With respect to Paragraph 16 of the Complaint, including subparagraphs A, B and

C, PNC states that the allegations are legal and/or factual conclusions for which no response is

required. To the extent, if any, that a response is required, denied.

                                                          BOND

          17.      PNC states that paragraph 17 of the Complaint does not contain an allegation for

which Defendant is required to admit or deny.

                                                       REMEDY

          18.      PNC states that the allegations in paragraph 18 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.



DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                  Page 3
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
            Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 4 of 7




         19.       PNC states that the allegations in paragraph 19 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

         20.       PNC states that the allegations in paragraph 20 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

         21.       PNC states that the allegations in paragraph 21 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

         22.       PNC states that the allegations in paragraph 22 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

                                               CAUSES OF ACTION

         23.       PNC states that the allegations in paragraph 23 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

         24.       PNC denies the allegations set forth in Paragraph 24 of the Complaint.

         25.       PNC states that the allegations in paragraph 25 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.

         26.       PNC states that the allegations in paragraph 26 of the Complaint are legal and/or

factual conclusions for which no response is required. To the extent, if any, that a response is

required, denied.



DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                  Page 4
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
            Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 5 of 7




                                                      DAMAGES

         27.       The allegations in paragraph 27 of the Complaint touch and concern Plaintiffs’

alleged damages and assert legal and/or factual conclusions for which no response is required. To

the extent, if any, a response is required, denied.

                                                 ATTORNEY FEES

         28.       The allegations in paragraph 28 of the Complaint touch and concern Plaintiffs’

alleged damages and assert legal and/or factual conclusions for which no response is required. To

the extent, if any, a response is required, denied.

                                                        PRAYER

         29.       The allegations in paragraphs A through G on pages 7 and 8 of the Complaint touch

and concern Plaintiffs’ alleged damages and assert conclusions and/or contentions of law to which

no response is required. To the extent, if any, a response is required, denied.

                                  II.          AFFIRMATIVE DEFENSES

         30.       Plaintiffs fail to state a claim upon which any relief can be granted.

         31.       Plaintiffs’ own acts and/or omissions caused or contributed to Plaintiffs’ alleged

injuries and/or damages, the existence of which Defendant specifically denies.

         32.       The acts and/or omissions of other persons and/or entities, over whom Defendant

had no control nor right to control, caused or contributed to Plaintiffs’ alleged injuries and/or

damages, the existence of which Defendant specifically denies.

         33.       Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ failure to mitigate

their alleged damages.

         34.       Plaintiffs’ alleged damages, the existence of which Defendant specifically denies,

were caused, in whole or in part, by pre-existing, subsequent and/or intervening events or



DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                       Page 5
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
            Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 6 of 7




conditions to which Defendant did not cause or contribute.

         35.       Plaintiffs’ claims are barred, in whole or in part, by the applicable statute of

limitations.

         36.       Plaintiffs’ claims are barred, in whole or in part, by the doctrines of justification

and/or mistake.

         37.       Plaintiffs’ claims are barred, in whole or in part, by the applicable equitable

doctrines of waiver, estoppel, laches, set-off, in pari delicto, and/or unclean hands.

         38.       Defendant specifically denies that Plaintiffs are entitled to an award of attorney’s

fees or costs either contractually or by statute.

         39.       Defendant requests the trier of fact determine the proportionate responsibility of

Plaintiffs, any named and/or settling defendant, and any responsible third-parties for the damages

allegedly suffered by Plaintiffs and to award Plaintiffs judgment, if any, against Defendant for

only those damages for which it is found to be proportionately responsible.

         40.       Defendant denies that it engaged in any acts and/or omissions that would warrant

the award of exemplary damages.

         41.       Defendant specifically denies all conditions precedent for recovery have occurred

or been met.

                                              III.           PRAYER

         WHEREFORE PREMISES CONSIDERED, Defendant prays that Plaintiffs take

nothing by their claims; Plaintiffs’ claims be dismissed with prejudice; and Defendant be awarded

its attorneys’ fees, costs, and all further relief to which it may be justly entitled at law or in equity.




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                       Page 6
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
            Case 5:19-cv-01352-OLG Document 10 Filed 04/13/20 Page 7 of 7




Dated: April 13, 2020                                              Respectfully submitted,


                                                                   /s/ Tatiana Alexander
                                                                   TATIANA ALEXANDER, SBN: 24055090
                                                                   talexander@mcguirewoods.com
                                                                   MCGUIREWOODS LLP
                                                                   2000 McKinney Avenue, Suite 1400
                                                                   Dallas, Texas 75201
                                                                   Telephone: 214.932.6408
                                                                   Facsimile: 214.273.7478

                                                                   ATTORNEYS FOR DEFENDANT
                                                                   NATIONSTAR MORTGAGE LLC


                                         CERTIFICATE OF SERVICE

        I hereby certify that on April 13, 2020, a true and correct copy of the foregoing was served
via the Court’s ECF filing system on all counsel of record.

         Charles Riley
         RILEY & RILEY
         320 Lexington Ave.
         San Antonio, Texas 78215-1913
         Tel. (210)225-7236
         Fax. (210)227-7907

         ATTORNEY FOR PLAINTIFFS


                                                                   /s/ Tatiana Alexander
                                                                       TATIANA ALEXANDER




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                         Page 7
Civil Action No. 5:19-cv-01352; Carlos Cortes, et al. v. PNC Bank, National Association
